                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

MICHELLE HARRIS,                                     )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       Case No. 20-cv-00767-SRB
                                                     )
NATIONAL CREDIT ADJUSTERS, LLC,                      )
                                                     )
                Defendant.                           )

                                             ORDER

       Before the Court is Plaintiff Michelle Harris’s (“Plaintiff”) Motion to Show Cause

Opposing Proposed Sanctions. (Doc. #13.) For the reasons set forth below, the motion is

DENIED and this case is DISMISSED WITHOUT PREJUDICE.

       On September 25, 2020, Plaintiff filed this case against Defendant National Credit

Adjusters, LLC (“Defendant”). This case was included in the Court’s Mediation and Assessment

Program (“MAP”). (Doc. #2.) Pursuant to the MAP, mediation was scheduled for March 31,

2021. Plaintiff did not appear or otherwise participate in the mediation. On April 1, 2021, the

Court entered an Order directing Plaintiff to “show good cause why sanctions, including

dismissal and attorney fees, should not be imposed[.]” (Doc. #12.)

       On April 29, 2021, Plaintiff’s counsel timely filed the pending motion opposing

sanctions. Plaintiff’s counsel states that although Plaintiff “has not responded to her lawyers’

attempts to contact her regarding the scheduled mediation (or for any other purpose), she has

been under what appears to be extreme duress arising from her landlord’s continuing attempts to

evict her from her home.” (Doc. #13, p. 1.) The motion further states that Plaintiff’s attorneys

have made numerous—but unsuccessful—attempts to contact Plaintiff. Under these

circumstances, Plaintiff’s counsel requests that sanctions not be imposed against Plaintiff or her



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attorneys. As explained below, the Court disagrees and finds this case should be dismissed

without prejudice.

         The Notice of Inclusion in the MAP states in relevant part that “[t]he failure to attend

mediation or other ADR option session, or the refusal to cooperate or timely cooperate in MAP,

may result in the imposition of sanctions by the assigned Judge.” (Doc. #2, p. 2.) Paragraph X

of the MAP General Order states that:

            If a party or counsel fails to make a good faith effort to participate in the
            Program in accordance with the provisions and spirit of this Order, the
            assigned Judge or Court may impose appropriate sanctions.

(Doc. #2-1, p. 12.)

         In this case, the Court finds that a sanction is warranted against Plaintiff.1 Plaintiff failed

to attend the scheduled mediation and also failed to respond to her attorneys’ numerous attempts

to contact her regarding mediation. Although Plaintiff may be facing personal difficulties, such

difficulties do not excuse her from complying with the Court’s orders or from prosecuting her

case.

         The next issue is the appropriate sanction. A dismissal with prejudice would be too

harsh. The record does not show that Plaintiff is intentionally abusing the judicial process or

engaging in similar misconduct. Plaintiff’s non-compliance is also mitigated, in part, based on

her alleged eviction issues. For similar reasons, a monetary sanction and/or an award of

attorneys’ fees to Defendant would not be appropriate. The Court finds the most appropriate

sanction to be a dismissal without prejudice, which adequately sanctions Plaintiff’s non-

compliance without being overly punitive.




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 The Court does not find that sanctions are warranted against Plaintiff’s attorneys. The record shows that the attorneys
have attempted to comply with the Court’s orders and have repeatedly attempted to contact Plaintiff.

                                                           2

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       Consequently, it is hereby ORDERED that Plaintiff’s Motion to Show Cause Opposing

Proposed Sanctions (Doc. #13) is DENIED. This case is hereby DISMISSED WITHOUT

PREJUDICE. Plaintiff’s counsel shall mail a copy of this Order to Plaintiff’s last known

address.

       IT IS SO ORDERED.


                                                   /s/ Stephen R. Bough
                                                   STEPHEN R. BOUGH
                                                   UNITED STATES DISTRICT JUDGE
Dated: May 4, 2021




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